                                                                         IFBLE[Q)
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                                                                                  C'll~.S. DISTftlCT C00RT
                                                                                  i;n;JTERN DISTRICT OF MO
                                UNITED STATES DISTRICT COURT                             ST.. LOUIS
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
                   Plaintiff,                   )

 v.                                             ~           4:20CR00433 MTS/PLC
                                                )   No.
                                                )
 ASHLEE BARCELLO,                               )
 JAIPUR HOWARD, and                             )
 JOSEPHUS HOWARD,                               )
                                                )
                  Defendants.                   )

                                          INDICTMENT

The Grand Jury charges:

                                           COUNTl
                                      (Access Device Fraud)

        From on or about November 17, 2018, until December 19, 2018, within the Eastern District

of Missouri, the defendant,

                                     ASHLEE BARCELLO,

in a matter affecting interstate commerce, did knowingly and with intent to defraud use, and

attempt to use, an unauthorized acce.ss device, that being a credit card belonging to KH and ending

in 4765, to obtain merchandise and gift cards with an aggregate value exceeding $1,000.00, that

is: stolen credit and debit cards;

          In violation of Title 18, United States Code, Sections 1029(a)(2), (b)(l), and 2.

                                           COUNT2
                                      (Access Device Fraud)

       From on or about November 17, 2018, until December 19, 2018, within the Eastern District

of Missouri, the defendant,
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                                        JAIPUR HOWARD,

in a matter affecting interstate commerce, did knowingly and with intent to defraud use, and

attempt to use, unauthorized access devices, that being credit cards belonging to R.E. and S.H.

ending in 5907 and 2233, respectively, to obtain merchandise and gift cards with an aggregate

value exceeding $1,000.00, that is: stolen credit and debit cards;

      In violation of Title 18, United States Code, Sections 1029(a)(2), (b)(l), and 2.

                                            COUNT3
                                       (Access Device Fraud)

     From on or about November 17, 2018, until December 19, 2018, within the Eastern District

of Missouri, the defendant,

                                     JOSEPHUS HOWARD,

in a matter affecting interstate commerce, did knowingly and with intent to defraud use, and

attempt to use, unauthorized access devices, that being credit cards belonging to S.H. and ending

in 1391 and 4981, to obtain merchandise and gift cards with an aggregate value exceeding

$1,000.00, that is: stolen credit and debit cards;

      In violation of Title 18, United States Code, Sections 1029(a)(2), (b)(l), and 2.

                                          COUNTS 4-5
                                     (Aggravated Identity Theft)

        On or about December 1, 2018, in the Eastern District of Missouri, the defendant,

                                          ASHLEE BARCELLO,

did knowingly possess, transfer, and use, without lawful authority, a means of identification, that

being the name and account number ending in 4765 of K.H., during and in relation to the

commission of the felony offenses of: access device fraud, Title 18, United States Code, Section

1029(a)(2), and bank fraud, Title 18, United States Code, Section 1344.
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     All in violation of Title 18, United States Code, Sections 1028A and 2.

                                         COUNTS6-8
                                    (Aggravated Identity Theft)

       On or about the dates listed below, in the Eastern District of Missouri, the defendant,

                                          JAIPUR HOWARD,

did knowingly possess, transfer, and use, without lawful authority, the name and account number

of the following individuals, during and in relation to the commission of the felony offenses of:

access device fraud, Title 18, United States Code, Section 1029(a)(2), and bank fraud, Title 18,

United States Code, Section 1344:

         COUNT               DATE             IDENTITY         ACCOUNT NUMBER

             6        November 17, 2018           A.H.            Card Ending 463 9

             7        November 17, 2018           R.E.            Card Ending 5907

             8         December 17, 2018          S.H.            Card Ending 2233


        All in violation of Title 18, United States Code, Sections 1028A and 2.

                                         COUNTS9-11
                                    (Aggravated Identity Theft)

       On or about the dates listed below, in the Eastern District of Missouri, the defendant,

                                        JOSEPHUS HOWARD,

did knowingly possess, transfer, and use, without lawful authority, the name and account number

of the following individuals, during and in relation to the commission of the felony offenses of:

access device fraud, Title 18, United States Code, Section 1029(a)(2), and bank fraud, Title 18,

United States Code, Section 1344:

         I COUNT I          DATE           I IDENTITY I       ACCOUNT NUMBER
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              9        December 7, 2018          C.O.             Card Ending 5520

              10       December 17, 2018         S.H.             Card Ending 13 91

              11       December 17, 2018         S.H.            Card Ending 4981


      All in violation of Title 18, United States Code, Sections 1028A and 2.

                                         COUNTS 12-14
                                          (Bank Fraud)

A. FINANCIAL INSTITUTIONS

       1.    At all times relevant to the indictment, Central Bank of St. Louis and First

Community Credit Union were financial institutions insured by the federal government through

the Federal Deposit Insurance Corporation and the National Credit Union Association.


B. THE SCHEME TO DEFRAUD

       2.    Between on or about December 6, 2018, and December 19, 2018, within the Eastern

District of Missouri, the defendant,

                                       ASHLEE BARCELLO,

devised a scheme and artifice to obtain moneys, funds, and assets owned by and under the custody

and control of federally insured financial institutions by means of false and :fraudulent pretenses

and representations.

       3.    The scheme and artifice to defraud was in substance-as follows:

             a. It was part of the scheme and artifice to defraud that the defendant obtained stolen

             checks and forms of personal identification of other individuals from vehicle break-

             ins without their knowledge or consent;
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              b. It was further part of the scheme and artifice to defraud that the defendant

             presented the stolen checks and forms of personal identification of other individuals

             to financial institutions;

              c. It was further part of the scheme and artifice to defraud that after presentation of

             the stolen checks and forms of personal identification of other individuals, the

             defendant induced, or attempted to induce, the financial institutions to issue cash to

             the defendant; and

              d. It was further part of the scheme and artifice to defraud that the defendant caused,

              or attempted to cause, losses to the financial institutions by using the fraudulently

              obtaining checks and forms of personal identification of other individuals to obtain

              cash.

C.      The Financial Transactions

        4.   On or about the dates listed below, in the Eastern District of Missouri, the defendant,

                                      ASHLEE BARCELLO,

executed and attempted to execute the scheme and artifice as set forth above, in that, ASHLEE

BARCELLO made false statements to the federally insured financial institutions listed below

and submitted fraudulently obtained identification documents in order to obtain cash:

        COUNT              DATE           IDENTITY    FINANCIAL INSTITUTION
          12          December 6, 2018       K.H.     First Community Credit Union
          13          December 19, 2018      A.C.  Central Bank of St. Louis-Chesterfield
          14          December 19, 2018      A.C.   Central Bank of St. Louis-Wildwood

             All in violation of Title 18, United States Code, Section 1344 and 2.

                                  FORFEITURE ALLEGATION

The Grand Jury further finds probable cause that:

        1.     Pursuant to Title 18, United States Code, Sections 982(a) and Title 28, United States
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Code, Section 2461(c), upon conviction of an offense in violation of Title 18, United States Code,

Section 1343 as set forth in Count(s) I-V, the defendant shall forfeit to the United States of America

any property, real or personal, constituting or derived from any proceeds traceable to such

violations.

        2.     Subject to forfeiture is a sum of money equal to the total value of any property, real

or personal, constituting or derived from any proceeds traceable to said violations.



                                                      A TRUE BILL.



                                                      FOREPERSON



JEFFREY B. JENSEN
United States Attorney



ANTHONY BOX #58575 MO
Assistant United States Attorney
